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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI


 THE STATE OF MISSOURI, ex. rel.        )
 ANDREW BAILEY, in his official capacity)               Case No. 4:24-cv-00955-AGR
 as Missouri Attorney General,          )
                                        )
          Plaintiffs,                   )
                                        )
          v.                            )
                                        )
 INTERNAL REVENUE SERVICE,              )
                                        )
          Defendant.                    )
 _______________________________________)

                                   JOINT STATUS REPORT

       Pursuant to the Court’s Scheduling Order (ECF No. 8) in this Freedom of Information

Act (FOIA) case, the parties file this Joint Status Report.

       The Internal Revenue Service (the “Service”) is continuing to collect and review records

potentially responsive to the State of Missouri’s FOIA request, and the parties are continuing to

discuss the search. To date, the Service has collected records from four primary custodians,

which are being processed and loaded onto the Service’s document management system

Relativity for review. The Service has also located and is reviewing, separately from the above

custodian collections, a tranche of documents that contains a substantial volume of records

responsive to Plaintiff’s FOIA request. The Service has been reviewing those records and has

made two releases totaling 545 pages to Plaintiff on December 23, 2024 and January 24, 2025.

       Pursuant to the Court’s Scheduling Order the parties will provide their next joint status

report on March 25, 2025.
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Dated: January 24, 2025


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